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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re:                                          §   Case No. 22-33553
 ALEXANDER E. JONES                              §
        Debtor.                                  §   Chapter 11
 ___________________________________             §
 In re:                                          §   Case No. 22-60043
 FREE SPEECH SYSTEMS, LLC                        §
        Debtor.                                  §   Chapter 11
 ___________________________________             §
 DAVID WHEELER, FRANCINE                         §
 WHEELER, JACQUELINE BARDEN,                     §   Adversary Case No. 23-03036
 MARK BARDEN, NICOLE HOCKLEY,                    §
 IAN HOCKLEY, JENNIFER HENSEL,                   §
 DONNA SOTO, CARLEE SOTO-PARISI,                 §
 CARLOS M. SOTO, JILIAN SOTO                     §
 MARINO, WILLIAM ALDENBERG,                      §
 WILLIAM SHERLACH, ROBERT                        §
 PARKER AND RICHARD M. COAN,                     §
 AS CHAPTER 7 TRUSTEE FOR THE                    §
 ESTATE OF ERICA LAFFERTY                        §
        Plaintiffs,                              §
                                                 §
 ALEXANDER E. JONES AND FREE                     §
 SPEECH SYSTEMS, LLC                             §
      Defendants.                                §

               NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

PLEASE TAKE NOTICE that, SHELBY A. JORDAN appears as co-counsel for Debtor,

Alexander E. Jones, in the above Bankruptcy and pursuant to Federal Rule of Bankruptcy

Procedure 2002 and 9019(b), requests that all notices given or required to be given in the above

case and all papers served in this case be given to and served upon the undersigned at the following

office, telephone number and facsimile number:

                                        Shelby A. Jordan
                                      State Bar # 11016700
                                          Antonio Ortiz
                                      State Bar #24074839



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                                      JORDAN & ORTIZ, P.C.
                                500 North Shoreline Blvd, Suite 900
                                    Corpus Christi, Texas 78401
                                    Telephone: (361) 884-5678
                                    Facsimile: (361) 888-5555
                                   Email: sjordan@jhwclaw.com
                                       aortiz@jhwclaw.com
                                 Copy to: cmadden@jhwclaw.com

       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only

notices and papers referred to in the Rules specified above, but also includes, without limitation,

all orders of any application, motion, pleading, request, complaint or demand, whether formal or

informal, whether written or oral, and whether transmitted or conveyed by mail, hand delivery,

telephone, facsimile, electronic mail, or otherwise filed with regard to the above case and the

proceedings herein.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

Request for Notice and Papers nor any subsequent appearance, pleading, claim, proof of claim,

document, suit, motion nor any other writing or conduct should be taken to constitute a waiver of

any right of Claimant: (i) to have any and all final orders in any and all non-core matters entered

only after de novo review by a United States District Court Judge; (ii) to trial by jury in any

proceeding as to any and all matters so triable herein, whether or not the same be designated legal

or private rights, or in any case, controversy or proceeding related hereto, notwithstanding whether

or not such matters are designated as “core proceedings” pursuant to 28 U.S.C. § 157(b)(2)(H),

and whether such jury trial is pursuant to statute or the United States Constitution; (iii) to have the

reference of this matter withdrawn by the United States District Court in any matter or proceeding

subject to mandatory or discretionary withdrawal; and (iv) to rights, claim, actions or defenses,

setoffs, recoupments or other matters to which this party is entitled under any agreements or at law

or in equity or under the United States Constitution.



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Dated: March 16, 2023

                                            Respectfully submitted,

                                            /s/ Shelby A. Jordan
                                            SHELBY A. JORDAN
                                            State Bar No. 11016700
                                            S.D. No. 2195
                                            ANTONIO ORTIZ
                                            State Bar No. 24074839
                                            S.D. No. 1127322
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                                            CO-COUNSEL FOR DEBTOR




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                                   CERTIFICATE OF SERVICE

The undersigned certifies that on March 16, 2023, a true and correct copy of the foregoing Notice was
served electronically on all parties registered to receive electronic notice of filings in this case via this
Court’s ECF notification system.

                                                   /s/ Shelby A. Jordan
                                                       Shelby A. Jordan




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